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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF TEXAS
                               TYLER DIVISION

 RICHARD J. BAKER,                      §
                                        §
                Plaintiff,              §
                                        §
 vs.                                    §     NO. 6:15-CV-00146-JRG-KNM
                                        §
 MICROSOFT CORPORATION;                 §
 UBISOFT HOLDINGS, INC.;                §
 RESPONDESIGN, INC.; NINTENDO OF        §
 AMERICA INC.; ELECTRONIC ARTS
 INC.; HARMONIX MUSIC SYSTEMS,
 INC.; THQ INC.; MAJESCO
 ENTERTAINMENT,

                Defendants.


       MICROSOFT, UBISOFT, NINTENDO, ELECTRONIC ARTS, AND MAJESCO’S
       MOTION TO TRANSFER TO THE WESTERN DISTRICT OF WASHINGTON
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                                     I.      INTRODUCTION
        At heart, Plaintiff Richard Baker’s (“Baker”) claims are disputes between an Australian

 individual and out-of-state companies, none of which have relevant ties to this District. The

 patent owner (Baker) is based in Queensland, Australia. The two video game console defendants,

 Microsoft Corp. (“Microsoft”) and Nintendo of America Inc. (“NOA” or “Nintendo”), are

 headquartered in Redmond, Washington, within the Western District of Washington. The

 software defendants filing this motion, Ubisoft, Inc. (“Ubisoft”), Electronic Arts Inc. (“EA”), and

 Majesco Entertainment Co. (“Majesco”), are largely located on the west coast, primarily in

 Northern California. 1 The Western District of Washington is clearly more convenient than the

 Eastern District of Texas.

        The facts compel transfer. The Western District of Washington is clearly more

 convenient for Microsoft and Nintendo, which is where they are headquartered and the bulk of

 their documents and witnesses are located. The Western District of Washington is also more

 convenient for the moving software defendants—companies that have business-related

 connections to that district and for whom travel to Western Washington is more convenient. The

 Western District of Washington would also be more convenient to potential non-party witnesses

 and the Plaintiff. By contrast, none of the parties have ties to this District. Microsoft, Nintendo,

 Ubisoft, EA, and Majesco therefore respectfully ask the Court to grant this motion.
                               II.        FACTUAL BACKGROUND
 A.     The Nature and Stage of the Proceedings
        In February 2015, Mr. Baker sued eight Defendants for alleged infringement of U.S.

 Patent No. 5,486,001, which expired over two years earlier on January 23, 2013. 2 Baker’s


 1
   Harmonix, the only remaining defendant not joining this motion, has filed a motion to dismiss
 for lack of personal jurisdiction. Dkt. No. 51. Harmonix does not oppose this transfer motion, but
 does not join it in view of Harmonix’s pending motion to dismiss.
 2
   Original Complaint, Dkt. No. 1. Baker has since dismissed defendants THQ, Inc. and
 Respondesign, Inc. Dkt. Nos. 12 (THQ dismissal) and 61 (Respondesign dismissal).
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 allegations against Defendants generally fall into two groups: (1) claims against Nintendo’s Wii

 console and Ubisoft’s “Your Shape for Wii” video game and camera 3; and (2) claims against

 Microsoft’s Kinect camera and Xbox 360 console, and video games designed for use with the

 Xbox 360 and Kinect from EA, Harmonix, Majesco, and Ubisoft. 4 Mr. Baker’s Complaint

 appears to be focused on video games that allow the player to use a motion sensing camera for

 sports, dance and fitness games.
 B.     No Material Evidence is Located in this District
        1.      Plaintiff
        Mr. Baker’s only known address is in Australia. 5 He has no known ties to the Eastern

 District of Texas. He does not appear to have any employees or principals in this District. Mr.

 Baker’s only known United States activities related to his claims in this case are obtaining the

 patent-in-suit and alleged pre-suit communications to Nintendo in Western Washington,

 Microsoft in Western Washington, and EA in Northern California. 6
        2.      Microsoft
        Microsoft’s principal place of business is in Redmond, Washington, within the Western

 District of Washington. 7 Microsoft’s video game business—including design, development,

 marketing, sales and finance for its Xbox consoles and Kinect and its coordination with third

 party game developers that make games for the Kinect—is run from its Redmond headquarters.

        With respect to the Kinect, although some early research relating to skeletal tracking,

 facial recognition and motion-based input was conducted by Microsoft Research in Cambridge,


 3
   Ubisoft also released a PC version of the game, “Your Shape for PC,” which is also identified
 in Baker’s Complaint. Baker Amended Compl. at 7 (regarding Ubisoft).
 4
   Baker Amended Compl. at 7 (regarding Ubisoft), 12 (regarding EA), 13 (regarding Harmonix),
 14 (regarding THQ), 15-16 (regarding Majesco). Mr. Baker’s Complaint also identifies The
 Biggest Loser Ultimate Workout for Kinect, which was identified for now-dismissed defendant
 THQ Inc.
 5
   Baker Amended Compl. at 2.
 6
   Although Mr. Baker alleges he had presuit communications with Microsoft and EA, neither
 company has been able to locate such correspondence in its files to date.


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 United Kingdom and Beijing, China, the project was passed to the Xbox team in the Interactive

 Entertainment Business (IEB) business unit at Microsoft’s headquarters in Redmond as

 Microsoft sought to commercialize the technology. 8 The work of designing and developing the

 Kinect occurred in Redmond. 9

        With respect to third party video games compatible with the Kinect, Microsoft’s

 interactions with game developers were run out of Redmond. 10 Microsoft hosted game

 developers at its headquarters in Redmond to introduce them to the Kinect, and hosted

 developers at its Xfest event in Redmond. 11 Individuals from Microsoft would also visit game

 developers at their offices to work with them on Kinect development; for example, individuals

 from Microsoft visited Ubisoft in Northern California and Paris, EA in Burnaby, British

 Columbia, Canada, and Harmonix in Massachusetts. 12 The Microsoft employee expected to be

 most knowledgeable about such interactions is James Miller, Microsoft’s General Manager for

 Third Party Development Management, based in Redmond, Washington; Mr. Miller’s team is

 also based in Redmond. 13

        Microsoft’s marketing and promotion for the Xbox 360 and Kinect was run from

 Redmond. 14 Microsoft’s finances for its video game console and accessories (including the Xbox

 360 gaming console and Kinect motion sensing input device) are managed by the controller for

 the IEB business unit, who is based in Redmond, as well as a team of finance professionals from


 7
   Leyvand Decl. ¶ 2.
 8
   Id. ¶ 6.
 9
   Id.
 10
    Id. ¶ 7.
 11
    Id.
 12
    With respect to Harmonix’s Dance Central in particular, and unlike most third-party games on
 the Xbox platform, Microsoft served as publisher of the title. As a result, Microsoft and
 Harmonix met more regularly to discuss marketing and technical aspects of the title during
 development, including visits from Harmonix’s team to Redmond, Washington to meet with
 Microsoft. Id. ¶ 8.
 13
    Id. ¶ 7.


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 Price Waterhouse Coopers, also located in Redmond. 15

        Microsoft maintains the vast majority of its potentially relevant documents in Redmond,

 and employees expected to be knowledgeable about design, development, sales, marketing, and

 financial facts relevant to this case work out of Redmond. 16 Relevant potential witnesses from

 Redmond include Microsoft employees Tommer Leyvand, Robert Craig, Kareem Choudhry,

 James Miller, and Josh Hutton, as well as former employees (now non-parties) Momin Al-

 Ghosien and Samuel Mann. 17 No relevant documents related to the Xbox 360 and Kinect motion

 sensing input device are located in Texas, except material that might be shared with retailers or

 distributors throughout the United States. 18

        Microsoft employs over 100,000 people, of which approximately 1,950 full-time

 Microsoft employees work in Texas. 19 The majority of those employees work in Las Colinas,

 Texas and Austin, Texas, on sales, marketing, and customer support for products other than

 video games. 20 No Microsoft employees in Texas worked on design, development, marketing or

 finance for Microsoft’s video game business. 21 No Microsoft employees in Texas worked on the

 Xbox consoles (Xbox 360 or Xbox One) or the Kinect motion sensing input device, or for any

 first-party Microsoft-developed games for the Xbox consoles. 22 Moreover, to the extent there are

 third party game developers in Texas with whom Microsoft has interaction, no Texas game

 developers are believed to have been involved in development of the games at issue in this

 case. 23 Finally, although Microsoft has retail stores in Texas, there are no employees or

 14
    Leyvand Decl. ¶ 9.
 15
    Id. ¶ 10.
 16
    Id. ¶ 15.
 17
    Id. ¶¶ 7, 11-13.
 18
    Id. ¶ 16.
 19
    Id. ¶ 14.
 20
    Id.
 21
    Id.
 22
    Id.
 23
    Id.


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 documents located in those stores that are expected to be relevant to the issues in this case. 24 In

 any event, such knowledge or documents is common to Microsoft Stores nationwide (including

 the five stores in Washington state). 25
        3.      Nintendo of America
        NOA has no presence in this District. NOA is a wholly-owned subsidiary of Nintendo

 Co., Ltd. (“NCL”), with its principal place of business in Redmond, Washington. 26 NOA is

 responsible for marketing and selling the Wii in the United States. Employees knowledgeable

 about sales, marketing, and financials for NOA mainly work out of Redmond, Washington. 27

 NOA also has an office in Redwood City, California that is responsible for marketing. 28 NOA

 also has a small New York retail-focused office. 29 That office has no relevant witnesses or

 documents. 30 Relevant NOA witnesses include Rod Teuber (Redmond, WA), Chris Guinn

 (Redmond, WA) and Nicholas Chavez (Redwood City, CA). 31

        NOA maintains most of its potentially relevant documents in Redmond and Redwood

 City. 32 NOA’s documents in Redmond include marketing, sales, and financial materials, in

 addition to technical documents describing the Wii, such as software-development-kits (SDKs)

 and other technical materials. 33 NCL maintains design and development documents relating to

 the accused products in Kyoto, Japan. 34

        NOA and NCL have two subsidiaries with employees in Texas: NES Merchandising,


 24
    Leyvand Decl. ¶ 18.
 25
    Id.
 26
    Kiel Decl. ¶¶ 2-3.
 27
    Id. ¶¶ 5-6.
 28
    Id. ¶ 7.
 29
    Id.
 30
    Id.
 31
    Id. ¶ 9.
 32
    Id. ¶ 6-7.
 33
    Id.
 34
    Id. ¶ 4.


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  Inc., a subsidiary of NOA; and Retro Studios, an NCL subsidiary. NES Merchandising is a retail-

  merchandising company that assists retail customers with sales promotions, e.g., by providing in-

  store displays. NES Merchandising has no role in design or development of the accused products

  and has no employees with information relevant to this case. 35 Retro Studios is a game software

  design studio with no role in design or development of the accused products, and also has no

  employees with knowledge relevant to this case. Neither NES Merchandising nor Retro Studios

  is located in the Eastern District. 36
          4.      Ubisoft
          Ubisoft is located in San Francisco, California, within the Northern District of California.

  Ubisoft marketed, published, and distributed Your Shape for Wii, Your Shape for PC, Your

  Shape Fitness Evolved, and Your Shape Fitness Evolved 2012 from its headquarters in San

  Francisco. 37 While Your Shape for Wii and PC were developed by a studio in Barcelona, Spain,

  and the Your Shape Fitness Evolved and Your Shape Fitness Evolved 2012 titles were developed

  by a studio in Montreal, Canada, any documents in Ubisoft’s possession regarding the design,

  development, sales, finances, or marketing of the games are stored and/or accessible at its

  headquarters in San Francisco. 38 In addition, employees knowledgeable about sales, marketing,

  and financials for the Your Shape games are located in San Francisco, including Loic Amans and

  Adam Novickas. 39 Ubisoft does not have any relevant witnesses or documents in this District.
          5.      EA
          EA’s corporate headquarters are in Redwood City, California, which is within the

  Northern District of California. 40 The design and development of EA Sports Active 2.0, however,

  was done primarily at EA Canada in Burnaby, British Columbia, Canada. EA Canada’s offices

  35
     Kiel Decl. ¶ 4.
  36
     Id. ¶¶ 4, 8.
  37
     Amans Decl. ¶¶ 2-4.
  38
     Id. ¶¶ 4, 6.
  39
     Id. ¶ 5.
  40
     Wood Decl. ¶ 3.


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  are outside of Vancouver, approximately 135 miles from Seattle, Washington, United States. 41

  Marketing for the game was also done from EA Canada in Burnaby. 42 Individuals who worked

  on the game and are still employed by EA include Alban Wood (Burnaby, Canada), Thomas

  Singleton (Maitland, Florida), and Deanna Beat (Burnaby, Canada). 43 Documents related to

  development, marketing and sales/financial information for the EA Sports Active 2.0 game are

  located primarily in Burnaby, Canada and Redwood City, California. 44 EA has an office in

  Austin, Texas, but no EA employees in Texas worked on design, development, or marketing of

  EA Sports Active 2.0 and no documents related to EA Sports Active 2.0 are located in Texas. 45
         6.     Majesco Entertainment
         Majesco also has no presence in this District. Majesco markets and sells the accused

  game nationwide. 46 Majesco has its principal place of business in New Jersey. 47 Majesco

  previously maintained several offices in California, however, where in-house production of the

  accused game occurred. 48 Two former employees who were principally responsible for the

  development and production of Majesco’s accused game still reside in California. 49 These

  individuals are no longer employed by Majesco. 50 Majesco employees frequently traveled to the

  Western District of Washington in connection with the accused game. 51 One of the principal

  game developers for the accused game is located in Eugene, Oregon, and the employees who

  worked on the game are believed to still reside in Oregon. 52 The other principal game developer

  41
     Wood Decl. ¶¶ 2, 5.
  42
     Id. ¶ 5.
  43
     Id. ¶¶ 4, 6.
  44
     Id. ¶ 7.
  45
     Id. ¶ 8.
  46
     Sutton Decl. ¶ 14.
  47
     Id. ¶ 2.
  48
     Id. ¶ 7.
  49
     Id. ¶¶ 8-9.
  50
     Id. ¶¶ 8-10.
  51
     Id. ¶ 11.
  52
     Id. ¶ 4.


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  is located in the United Kingdom. 53 Three other third-party vendors who participated in the

  production of the game are all located in California. 54 Majesco has never had any offices or

  operations in Texas. 55

   III.    THIS CASE SHOULD BE TRANSFERRED TO THE WESTERN DISTRICT OF
                                WASHINGTON
          Courts may transfer a civil action “[f]or the convenience of parties and witnesses, in the

  interests of justice” to any district “where it might have been brought.” 28 U.S.C. § 1404(a).

  Transfer “should be granted upon a showing that the transferee venue is ‘clearly more

  convenient’ than the venue chosen by the plaintiff.” In re Nintendo Co., Ltd., 589 F.3d 1194,

  1197 (Fed. Cir. 2009) (citing In re Genentech, Inc., 566 F.3d 1338, 1342 (Fed. Cir. 2009)). The

  facts in this case warrant transfer to the Western District of Washington.
  A.      The Claims Against Defendants Could Have Been Brought in the Western District
          of Washington
          The first inquiry under 28 U.S.C. § 1404(a) is whether the transferee district would have

  jurisdiction to hear the case. In re Volkswagen AG (Volkswagen I), 371 F.3d 201, 203 (5th Cir.

  2004). Microsoft and NOA are each headquartered in the Western District of Washington with a

  principal place of business in Redmond, and thus each is subject to personal jurisdiction there.

  As to EA, Majesco, and Ubisoft, each has at least the same contacts with the Western District of

  Washington as Baker alleges are sufficient to establish jurisdiction in this District. In addition,

  EA, Majesco, and Ubisoft have had business-related activity in the Western District of

  Washington in their dealings with Microsoft. 56 Ubisoft has similarly engaged in business-related

  53
     Sutton Decl. ¶ 5.
  54
     Id. ¶ 6.
  55
     Id. ¶ 13.
  56
     In the event Harmonix’s motion to dismiss for lack of personal jurisdiction (Dkt. No. 51) is
  denied and the Court finds that there is personal jurisdiction over Harmonix in the Eastern
  District of Texas, personal jurisdiction would also exist in Western District of Washington.
  Although Harmonix contends it does not have sufficient contacts with the Eastern District of
  Texas, it does have sufficient contacts with the Western District of Washington. See Leyvand
  Decl. ¶8.


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  activities in the Western District of Washington with Nintendo.
  B.       The Private Factors Favor Transfer to the Western District of Washington
           In determining whether to transfer a case, the Court must analyze various private and

  public interest factors. See In re Nintendo, 589 F.3d at 1198 (citing In re TS Tech USA Corp.,

  551 F.3d 1315, 1319 (Fed. Cir. 2008)). The private interest factors include: (1) relative ease of

  access to sources of proof; (2) availability of compulsory process to secure attendance of

  witnesses; (3) cost of attendance for willing witnesses; and (4) all other practical problems. In re

  Zimmer Holdings, Inc., 609 F.3d 1378, 1380-81 (Fed. Cir. 2010).
           1.     Baker’s Choice of Venue Should Not Be Afforded Any Weight
           Baker’s choice of venue should be given no weight. He does not have an address in

  Texas. His only known address is in Australia. 57 Further, Baker does not appear to have any

  employees or principals in this District, nor does he appear to conduct research or development

  in this District. In re Microsoft Corp., 630 F.3d 1361, 1365 (Fed. Cir. 2011) (citing In re Zimmer

  Holdings, 609 F.3d at 1381); cf. NovelPoint Learning LLC v. LeapFrog Enters., Inc., No. 6:10-

  cv-229-JDL, 2010 WL 5068146, at *4 (E.D. Tex. Dec. 6, 2010) (an ephemeral entity “does not

  have (1) employees in the transferor form; (2) principals that reside in the transferor forum; or

  (3) research and development-type activities in the transferor forum.”).
           2.     Access to Sources of Proof Favors Transfer
           The Fifth Circuit in In re Volkswagen of Am., Inc. (Volkswagen II) confirmed that

  physical accessibility to sources of proof, including documents, is a relevant factor in the transfer

  analysis. 545 F.3d 304, 314-15 (5th Cir. 2008); see also In re Genentech, 566 F.3d at 1345 (“In

  patent infringement cases, the bulk of the relevant evidence usually comes from the accused

  infringer. Consequently, the place where the defendant's documents are kept weighs in favor of

  transfer to that location.”) (citation and quotation marks omitted); Brite Smart Corp. v. Google

  Inc., No. 2:14-cv-760-JRG-RSP, 2015 WL 4638215, at *2 (E.D. Tex. Aug. 3, 2015) (same).


  57
       Baker Amended Compl. at 2 (Dkt. No. 44).


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         The overwhelming majority of relevant documents are on the West Coast, and largely

  centered around the Western District of Washington. Nintendo’s likely relevant documents

  include its design and development materials, sales and marketing materials, and financial

  materials. These materials are in Washington, California and Japan. 58 Microsoft’s documents are

  largely located in the Western District of Washington. 59 EA’s potentially relevant documents are

  located in Burnaby (135 miles from Seattle) and Redwood City, California (25 miles from San

  Francisco). 60 Ubisoft’s relevant documents are stored or accessible from its headquarters in San

  Francisco, which is far closer to the Western District of Washington. 61 Majesco’s documents are

  largely located in New Jersey, but relevant third-party documents related to the design and

  development of the accused game are likely located in Oregon and California. 62 Harmonix’s

  documents are likely in Massachusetts, but potentially relevant documents pertaining to the

  Harmonix game are likely to be with Microsoft in Redmond because Microsoft published the

  game and worked closely with Harmonix on its development and marketing. 63

         Baker’s relevant documents, to the extent any exist, are not likely in this District either.

  Because the bulk of likely relevant evidence resides in or near the Western District of

  Washington, this factor heavily favors transfer. See In re Nintendo, 589 F.3d at 1199-1200; In re

  Toa Techs., Inc., 543 F. App'x 1006, 1009 (Fed. Cir. 2013).
         3.      Convenience of the Parties and Witnesses Favors Transfer
         Witness convenience is an important factor. In re Nintendo, 589 F.3d at 1198-99

  (citations omitted). Indeed, the “convenience of the witnesses is probably the single most

  important factor in a transfer analysis.” In re Genentech, 566 F.3d at 1343 (citation and quotation



  58
     Kiel Decl. ¶¶ 4-9
  59
     Leyvand Decl. ¶¶ 15-16.
  60
     Wood Decl. ¶¶ 2, 3, 7.
  61
     Amans Decl. ¶¶ 4-6.
  62
     Sutton Decl. ¶¶ 4-12.
  63
     Leyvand Decl. ¶ 8.


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  marks omitted). While the Court must consider the convenience of both the party and non-party

  witnesses, “the convenience to non-party witnesses is afforded greater weight than that of party

  witnesses.” Adaptix, Inc. v. HTC Corp., 937 F. Supp. 2d 867, 875 (E.D. Tex. 2013) (citation

  omitted). Further, “when the distance between an existing venue for trial of a matter and a

  proposed venue … is more than 100 miles, the factor of inconvenience to witnesses increases in

  direct relation to the additional distance to be travelled.” Id.

          Regarding Baker’s Wii-related claims, this factor heavily favors transfer because Ubisoft

  and Nintendo employees are the most likely trial witnesses. Nintendo’s likely witnesses are

  situated in Western Washington or Northern California, while Ubisoft’s likely witnesses are

  situated in Northern California or outside of the United States. 64 Additionally, the former Ubisoft

  employee who presented the Your Shape for Wii game at the E3 convention in California in 2009

  now resides in Redmond, Washington. 65 Any travel to the Western District of Washington would

  be significantly more convenient for Nintendo and Ubisoft than travel to this District. 66

          To the extent technical witness testimony is required from Nintendo’s Japanese parent

  company, NCL, witnesses will have to travel internationally for trial testimony. Travel from

  Tokyo to Tyler is more burdensome than travel from Tokyo to Seattle. 67 See also In re Nintendo,

  589 F.3d at 1198-99 (citations omitted). It is also significant that there are direct flights from

  Tokyo to Seattle, but not to from Tokyo to Tyler. 68 See Vantage Point Tech., Inc. v.

  Amazon.com, Inc. et al., Nos. 2:13-cv-909-JRG, 2:13-cv-928-JRG, 2015 WL 354026, at *3

  (E.D. Tex. Jan. 26, 2015) (Gilstrap, J.) (availability of direct flights favored transfer). The

  Western District of Washington is significantly closer to Japan than this District. 69


  64
     Amans Decl. ¶ 5; Kiel Decl. ¶¶ 6-9.
  65
     Amans Decl. ¶ 6.
  66
     McFarland Decl. ¶¶ 2-9 (comparing travel times and distances); Kiel Decl. ¶ 10.
  67
     McFarland Decl. ¶¶ 9-13 (comparing travel times and distances); Kiel Decl. ¶ 12.
  68
     McFarland Decl. ¶¶ 3, 6.
  69
     Id. ¶¶ 7-9.


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          Likewise, this factor also heavily favors transfer when it comes to Baker’s Xbox 360-

  related claims against Microsoft, EA, Majesco, Harmonix and Ubisoft. Microsoft’s potentially

  relevant witnesses are in the Western District of Washington. 70 EA’s potentially relevant

  witnesses are primarily in Burnaby, Canada, with one individual who worked on the accused

  game now in Florida. 71 Majesco’s likely witnesses are located in Oregon, where the three

  primary employees believed to have participated in development of the game are believed to still

  reside. 72 Three other vendors involved in the production of the game are located in California. 73

  Additionally, Harmonix has interacted with Microsoft, including by having its employees visit

  Microsoft’s headquarters in Redmond. 74 Moreover, several non-party, former Microsoft

  engineers with relevant information relating to the Kinect camera still reside in or near

  Redmond, Washington. 75 See Brite Smart, 2015 WL 4638215, at *2 (presence of third-party

  witnesses in transferee forum favors transfer).

          Baker’s only likely fact witness appears to be Baker himself. He lives in Queensland

  Australia. 76 Travel time between Queensland and Seattle is shorter than between Queensland and

  Tyler. 77
          4.     No Other Practical Problems Will Result From Transfer
          The final private factor–consideration of other practical issues that make trial of the case

  easy and efficient–also favors transfer. In re Zimmer Holdings, 609 F.3d at 1380-81. The case is

  in its early stages, a scheduling conference has not occurred, discovery has not begun, and no

  trial date has been scheduled. In addition, all Defendants either have joined this motion to


  70
     Leyvand Decl. ¶¶ 7, 11-13.
  71
     Wood Decl. ¶¶ 4-6.
  72
     Sutton Decl. ¶ 4.
  73
     Id. ¶ 6.
  74
     Leyvand Decl. ¶ 8.
  75
     Id. ¶ 12.
  76
     Baker Amended Compl. at 2 (Dkt. No. 44).
  77
     McFarland Decl. ¶¶ 9, 14-17 (comparing travel times and distances).


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  transfer to the Western District of Washington or do not oppose the present motion. See

  Balthasar Online, Inc. v. Network Solutions, LLC, 654 F. Supp. 2d 546, 552-53 (E.D. Tex. 2009)

  (granting transfer to N.D. Cal. when non-moving defendants did not oppose).
  C.      The Public Factors Favor Transfer to the Western District of Washington
          The public interest factors include: (1) administrative difficulties flowing from court

  congestion; (2) forum’s local interest in the dispute; (3) forum’s familiarity with governing law;

  and (4) avoidance of unnecessary conflicts of law problems. In re Zimmer Holdings, 609 F.3d at

  1381.
          1.     Administrative Difficulties Favor Transfer
          The administrative difficulties factor favors transfer. The Western District of Washington

  is less congested than the Eastern District of Texas. For the twelve-month period ending

  December 31, 2014, the median time from filing to disposition and from filing to trial was

  greater in this District than in the Western District of Washington, as were the number of civil

  cases more than three years old. 78 In the same period, this District had the twelfth most pending

  cases in the nation (695), approximately 75% greater than in Washington (398). 79 This District

  had the third most active caseload in the nation (1,226 filings), more than double the weighted

  caseload of the Western District of Washington (545). 80
          2.     The Local Interests of the Western District of Washington Favor Transfer
          The local interests strongly favor adjudication in the Western District of Washington.

  This factor is important because “[j]ury duty is a burden that ought not to be imposed upon the

  people of a community which has no relation to the litigation.” Volkswagen I, 371 F.3d at 206

  (citation and quotation marks omitted). As such, transfer is appropriate where none of the

  operative facts occurred in the district and where the district has no particular local interest in the

  outcome of the case. See Volkswagen II, 545 F.3d at 318; see also Wireless Recognition Techs. v.

  78
     McFarland Decl. ¶ 18, Ex. Q (U.S. Courts Judicial Caseload Profiles).
  79
     Id. ¶ 18.
  80
     Id.


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  A9 Com, Inc., Nos. 2:10-cv-364-JRG, 2:10-cv-365-JRG, 2:10-cv-577-JRG, 2:10-cv-578-JRG,

  2012 WL 506669, at *6 (“Interests that ‘could apply virtually to any judicial district or division

  in the United States,’ such as the nationwide sale of infringing products, are disregarded in favor

  of particularized local interests.”) (citation omitted); see also In re Nintendo, 589 F.3d at 1198.

          Baker is not at home in this District. In contrast, both Microsoft and Nintendo are

  headquartered in the Western District of Washington and employ thousands of workers there.

  While the game software defendants are not based in the Western District of Washington,

  Baker’s allegations specifically implicate their use of Microsoft and Nintendo’s technologies,

  and, by extension, certain employees of Microsoft and Nintendo. See In re Hoffmann La-Roche

  Inc., 587 F.3d 1333, 1336 (Fed. Cir. 2009) (noting the transferee forum’s local interest in

  adjudicating the case “remains strong because the cause of action calls into question the work

  and reputation of several individuals residing in or near that district and who presumably conduct

  business in that community”). Thus, the Western District of Washington has a significant interest

  in this action while this District has none. 81
  IV.     IN THE ALTERNATIVE, THE NINTENDO AND MICROSOFT PORTIONS OF
          THE CASE SHOULD BE SEVERED
          To the extent the Court is not inclined to transfer the entire case, Nintendo asks that the

  Court sever Baker’s claims against Nintendo and Ubisoft relating to Your Shape for Wii under

  35 U.S.C. § 299. 82 Parties accused of infringement may be joined in one action “only if” a right

  to relief arises out of the same transaction or occurrence relating to selling the same accused

  product. In re EMC Corp., 677 F.3d 1351, 1355-56 (Fed. Cir. 2012). “[J]oinder is not


  81
     The other two public interest factors—the transferee forum’s knowledge of the relevant law
  and avoidance of conflicts of law—are neutral.
  82
     If the Court transfers this entire case, Defendants anticipate that they may ask the Western
  District of Washington to consider separate trials for the Nintendo portion of the case and
  Microsoft portion of the case. Of course, there is much pretrial work to be coordinated across all
  Defendants, and the issue of trial structure need not be decided by this Court at this juncture if
  the entire case is transferred.


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  appropriate where different products or processes are involved.” Id. at 1359. “[I]ndependently

  developed products using differently sourced parts are not part of the same transaction, even if

  they are otherwise coincidentally identical.” Id.

          Baker’s claims of infringement against games designed for Microsoft’s Xbox 360 and the

  Kinect camera and the claims of infringement against Nintendo relating to Ubisoft’s Your Shape

  for Wii game are based on independently-developed, and incompatible, products. 83 As discussed

  above, Baker’s allegations against Nintendo are based on the use of Ubisoft’s Your Shape for

  Wii product. 84 This is a product sold for use with the Nintendo Wii console along with a camera

  provided by Ubisoft. Although Ubisoft is also accused of infringement based on different “Your

  Shape” titles for the Microsoft Xbox 360 and Microsoft Kinect camera (Your Shape Fitness

  Evolved and Your Shape Fitness 2012), they are distinct products that were developed by a

  separate team of programmers located a continent away from the group that made Your Shape

  for Wii. 85

          Thus, to the extent the Court is disinclined to transfer the entire case, Nintendo

  respectfully requests that Baker’s claims against Nintendo relating to its Wii console and

  Ubisoft’s Your Shape for Wii video game and camera be severed under § 299 and transferred to

  the Western District of Washington.




  83
     See Section II.B.4, supra.
  84
     Baker Amended Compl. at 10 (Dkt. No. 44).
  85
     See Section II.B.4, supra.


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                                    CERTIFICATE OF SERVICE

         The undersigned hereby certifies that a true and correct copy of the foregoing document

  has been electronically filed with the Clerk of the Court via the CM/ECF system, which will

  send notification of such filing to all counsel of record in this case.

                                                          /s/ Jonathan L. McFarland
                                                          Jonathan L. McFarland



                                CERTIFICATE OF CONFERENCE

         The undersigned hereby certifies that the meet-and-confer requirement of Civil L.R. 7(h)

  has been complied with and Plaintiff opposes this motion to transfer. On August 3, 2015,

  Plaintiff conferred with counsel for Nintendo, Jonathan L. McFarland, about the relief requested

  in this Motion. The discussions between the parties conclusively ended in an impasse, leaving an

  open issue for the Court to resolve.

                                                          /s/ Jonathan L. McFarland
                                                          Jonathan L. McFarland




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